

Matter of Moler (2018 NY Slip Op 05725)





Matter of Moler


2018 NY Slip Op 05725


Decided on August 9, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: August 9, 2018


[*1]In the Matter of JONATHAN DEAN MOLER, an Attorney. (Attorney Registration No. 5035191)

Calendar Date: August 6, 2018

Before: Lynch, J.P., Clark, Mulvey, Aarons and Rumsey, JJ.


Jonathan Dean Moler, Stillwater, Minnesota, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
Jonathan Dean Moler was admitted to practice by this Court in 2008 and lists a business address in St. Paul, Minnesota with the Office of Court Administration. Moler now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it defers to this Court's discretion as to the disposition of Moler's application.
Upon reading Moler's affidavit sworn to June 29, 2018 and filed July 2, 2018, and upon reading the July 31, 2018 correspondence in response by the Chief Attorney for AGC, and having determined that Moler is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Lynch, J.P., Clark, Mulvey, Aarons and Rumsey, JJ., concur.
ORDERED that Jonathan Dean Moler's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Jonathan Dean Moler's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Jonathan Dean Moler is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Moler is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Jonathan Dean Moler shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








